                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE

   LEWIS COSBY,                                   )
   ERIC MONTAGUE, and                             )
   MARTIN ZIESMAN, as Co-Trustee for the          )
   Carolyn K. Ziesman Revocable Trust,            )
   on behalf of themselves and                    )
   all others similarly situated,                 )
                                                  )
                 Plaintiffs,                      )
                                                  )
   v.                                             )      No.:    3:16-CV-121-TAV-DCP
                                                  )
   KPMG, LLP,                                     )
                                                  )
                 Defendant.                       )

                                             ORDER

          This case is currently stayed pending resolution of Plaintiffs’ Motion to Certify the

   Classes, Appoint Class Representatives, and Appoint Class Counsel [Doc. 109]. The Court

   has ruled upon the motion, and the stay in effect is no longer required. Accordingly, the

   Clerk of Court is DIRECTED to LIFT the stay in this matter.

          In light of the Court’s decision to lift the stay, it is hereby ORDERED that the jury

   trial in this matter is set for Tuesday, February 8, 2022, at 9:00 a.m., and the final pretrial

   conference is set for Tuesday, February 1, 2022, at 2:30 p.m. Any unexpired scheduling

   deadlines as of the date of entry of this order shall be applied as calculated from the new

   trial date and according to the same time limitations set forth in the Court’s Modified

   Scheduling Order [Doc. 96].

          IT IS SO ORDERED.

                                       s/ Thomas A. Varlan
                                       UNITED STATES DISTRICT JUDGE


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